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                      THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                             )
PENNSYLVANIA,                               )
                                            )
                       Plaintiff,           )
v.                                          )      Civil Action No. 2:17-cv-04540 (WB)
                                            )
JOSEPH R. BIDEN, in his official            )
capacity as President of the United States, )
et al.,                                     )
                                            )
                                            )
                       Defendants.          )
____________________________________)

                                           ORDER

       The Court, having considered the Federal Defendants’ motion to stay proceedings in this

case, hereby GRANTS the motion and STAYS the case. Federal Defendants shall file a status

report on or before October 29, 2021, and every 90 days thereafter.



IT IS SO ORDERED, this 2nd day of August 2021.

                                                   BY THE COURT:

                                                   /s/Wendy Beetlestone, J.


                                                   HON. WENDY BEETLESTONE
                                                   United States District Judge
